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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                 8:13CR314
                                               )
       vs.                                     )                  ORDER
                                               )
JOHNNY MARTINEZ,                               )
                                               )
                     Defendant.                )

       This matter is before the court on the motion of defendant Johnny Martinez (Martinez)
to modify the conditions of his release (Filing No. 118). Presently, Martinez’s release is
conditioned upon his having no contact with his co-defendant Anisha Martinez (Filing No.
78). Martinez seeks contact with Anisha Martinez regarding their children as needed in their
Department of Health and Human Services (DHHS) case.
       The motion is granted to the extent that Martinez may have contact with Anisha
Martinez with respect to their children as needed in their DHHS case and as approved in
advance by their Pretrial Services officer.


       IT IS SO ORDERED.


       DATED this 14th day of April, 2014.


                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
